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                                                      THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9   ANGELA BOVO, et al.,                                    CASE NO. C19-1650-JCC
10                             Plaintiffs,                   ORDER
11          v.

12   KING COUNTY SUPERIOR COURT, et al.,

13                             Defendants.
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15          This matter comes before the Court sua sponte. Plaintiffs were granted leave to proceed
16   in forma pauperis on October 17, 2019. (See Dkt. No. 3). That same day, Plaintiffs filed a
17   complaint and a motion to appoint counsel. (See Dkt. Nos. 4–5.) On June 4, 2020, the Court
18   reviewed Plaintiffs’ complaint pursuant to 28 U.S.C. § 1915(e)(2)(B) and determined that it
19   failed to state a claim upon which relief could be granted. (See Dkt. No. 7.) The Court directed
20   Plaintiffs to file an amended complaint within 21 days. (Id. at 4.) Twenty-two days later, on June
21   26, 2020, Plaintiffs filed a document that the Court construed as a motion for an extension of
22   time to file an amended complaint. (See Dkt. No. 13.) The Court granted the motion and
23   extended Plaintiffs’ deadline to file an amended complaint until July 31, 2020. (See id.). On
24   August 4, 2020, Plaintiffs filed a document that the Court construed as a second motion for an
25   extension of time to file an amended complaint. (See Dkt. No. 15.) The Court granted the motion
26   and extended Plaintiffs’ deadline to file an amended complaint until August 31, 2020. (See id.)


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 1          Plaintiffs failed to amend the complaint. Accordingly, for the reasons explained in the

 2   Court’s previous order, (Dkt. No. 7), the Court DISMISSES the complaint without prejudice and

 3   without further leave to amend and DENIES Plaintiffs’ motion to appoint counsel (Dkt. No. 5) as

 4   moot. The Clerk is DIRECTED to close this case and to mail a copy of this order to Plaintiffs at

 5   the address listed on the docket.

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 7          DATED this 9th day of November 2020.




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                                                         John C. Coughenour
11                                                       UNITED STATES DISTRICT JUDGE
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